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           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
          Plaintiff,                   )
                                       )
     v.                                )      No. 22-cr-30018
                                       )
NATHAN BECKMAN,                        )
                                       )
          Defendant.                   )

                               ORDER

SUE E. MYERSCOUGH, U.S. District Judge.

     On September 15, 2023, the Court held a competency hearing

as to Defendant, Nathan Beckman. Based upon the grounds set forth

in the Defendant’s Motion (d/e 44), the report and findings by Dr.

Killian and arguments set forth by counsel at the competency

hearing, the Court finds by a preponderance of the evidence that Mr.

Beckman is presently suffering from a mental disease or defect,

rendering him mentally incompetent to the extent that he is unable

to understand the nature and consequences of the proceedings

against him, or to assist properly in his defense.

     Pursuant to 18 U.S.C. § 4241(d), Defendant Nathan Beckman

is hereby committed to the custody of the Attorney General for
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treatment for a reasonable period of time, not to exceed “four months,

as is necessary to determine whether this is a substantial probability

that in the foreseeable future, he will attain the capacity to permit

the proceedings to go forward.” See 18 U.S.C. § 4247(d). The director

of the facility Mr. Beckman is committed to, pursuant to section

4241, shall prepare a semiannual report, regarding Mr. Beckman’s

probability to attain the capacity to permit this proceeding to move

forward. This report shall be filed by January 5, 2024, and conform

to the requirements set forth at 18 U.S.C. § 4247(e) and 4241(d).

     To determine whether it is probable that the Defendant will

attain the capacity to permit the proceedings to go forward or whether

an additional reasonable period of time may be necessary, the Court

hereby SETS a status hearing for January 8, 2024, at 3:00 p.m. in

Springfield before U.S. District Judge Sue E. Myerscough.

     Last, the Government filed a Motion for Detention (d/e 40),

pursuant to 18 U.S.C. § 3142, requesting Defendant be held in the

custody of the United States Marshals Service for pretrial detention

given his alleged violations of his prior release conditions. Given the

Court’s findings as to Defendant’s competency and this order



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committing him to the custody of the Attorney General for treatment,

the Government’s motion is DENIED as moot.

ENTERED: SEPTEMBER 20, 2023

FOR THE COURT:
                          s/ Sue E. Myerscough
                          SUE E. MYERSCOUGH




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